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                            UNITED STATES DISTRICT COURT             '-p         1   I
                       FOR THE EASTERN DISTRICT OF VIRG^ m'
                                      Alexandria Division                        DEC 12 2017   •-•i

UNITED STATES OF AMERICA

      V.                                             Case Number l:17-PO-927


LAYLA R. BOTWINIK,
      Defendant.


                                            ORDER


       This matter came on for a hearing before the Court upon a petition and addendum filed

by the United States Probation Office, alleging that the defendant violated certain conditions of

probation.   The defendant appeared with counsel and requested a brief continuance.

Accordingly, it is hereby

       ORDERED that the violation hearing is continued imtil Tuesday, December 19, 2017, at

10:00 a.m. It is further ORDERED that defendant's conditions of supervision are modified to

include the following additional conditions: (1) defendant shall not consume any alcohol, and (2)

defendant shall submit remote alcohol testing, as directed by the Probation Office. All other

conditions previously imposed remain in full force and effect.


                                                                           /s/
                                                          Michael S. Nachmanoff
                                                          United States Magistrate Judge
                                                    Michael S. Nachmanoff
                                                    United States Magistrate Judge

December 12,2017
Alexandria, Virginia
